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                                                                  ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                      DOC#:
SOUTHERN DISTRICT OF NEW YORK                                     DATE FILED: 11/2/2020


 TRUSTEES OF THE NEW YORK CITY
 DISTRICT COUNCIL OF CARPENTERS
 PENSION FUND, WELFARE FUND,
 ANNUITY FUND, APPRENTICESHIP,
 JOURNEYMAN RETRAINING,
 EDUCATIONAL AND INDUSTRY FUND,
 TRUSTEES OF THE NEW YORK CITY
 DISTRICT COUNCIL OF CARPENTERS
 RELIEF AND CHARITY FUND, and THE                             No. 20-CV-2349 (RA)
 CARPENTER CONTRACTOR ALLIANCE
 OF METROPOLITAN NEW YORK,                                            ORDER

                              Plaintiffs,

                         v.

 WHERE TO GET IT SERVICES, LLC,

                              Defendants.


RONNIE ABRAMS, United States District Judge:

         As discussed at today’s conference, the parties are hereby ORDERED to submit a joint

letter, by no later than December 2, 2020, updating the Court on the status of this case, and

proposing next steps. The deadline for Defendant to respond to the Complaint is hereby stayed

pending receipt of the parties’ joint letter.



SO ORDERED.

Dated:      November 2, 2020
            New York, New York

                                                  Ronnie Abrams
                                                  United States District Judge
